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 6   Attorney for Plaintiff, U.S. Bank Trust, N.A., as Trustee for LSF8 Master Participation Trust
 7
                                 UNITED STATES DISTRICT COURT
 8
                                        DISTRICT OF NEVADA
 9
10   U.S. BANK TRUST, N.A., AS TRUSTEE FOR Case No.: 2:16-cv-00741-APG-NJK
     LSF8 MASTER PARTICIPATION TRUST,
11                  Plaintiff,
                                                      STIPULATION AND ORDER TO
12   v.                                               EXTEND TIME TO FILE REPLY IN
13                                                    SUPPORT OF MOTION FOR SUMMARY
     SFR INVESTMENTS POOL 1, LLC;                     JUDGMENT
14   GLENEAGLES HOMEOWNERS
     ASSOCIATION; NEVADA ASSOCIATION          [FIRST REQUEST]
15
     SERVICES, INC.; DOES I through X and ROE
16   CORPORATIONS I through X,
17                  Defendants
18
      STIPULATION AND ORDER TO EXTEND TIME TO FILE REPLY IN SUPPORT OF
19                    MOTION FOR SUMMARY JUDGMENT
20
             COMES NOW, Plaintiff U.S. Bank Trust, N.A., as Trustee for LSF8 Master Participation
21
     Trust (“U.S. Bank”), Defendant SFR Investments Pool 1, LLC (“SFR”), and Defendant
22
23   Gleneagles Homeowners Association (“HOA”) (collectively, the “Parties” and individually, a

24   “Party”) by and through their respective attorneys of record, and hereby stipulate and agree as
25
     follows:
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          1. On August 27, 2020, SFR filed its Motion for Summary Judgment;
27
          2. On August 27, 2020, U.S. Bank filed its Motion for Summary Judgment;
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           3. On September 17, 2020, U.S. Bank filed a Response to SFR’s Motion for Summary
 1
 2            Judgment;

 3         4. On September 17, 2020, SFR filed it’s Response to U.S. Bank’s Motion for Summary
 4
              Judgment;
 5
           5. U.S. Bank’s counsel is requesting an additional eight (8) days to file its reply in support
 6
 7            of its Motion for Summary Judgment, and thus requests up to October 9, 2020, to file its

 8            Reply;
 9         6. SFR’s counsel is requesting an additional one (1) day to file its reply in support of its
10
              Motion for Summary Judgment, and thus requests up to October 2, 2020 to file its Reply.
11
           7. These extensions are requested due to U.S. Bank’s counsel drafting multiple Ninth
12
13            Circuit Court of Appeal’s briefs in different matters.

14         8. Excusable neglect exists for failing to file by yesterday because counsel for the parties
15            were not in the office to finalize the stipulation prior to the due date of October 1, 2020.
16
           9. Neither party opposes the respective extensions.
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     ///
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        10. This is the first request for an extension which is made in good faith and not for purposes
 1
 2          of delay.

 3          IT IS SO STIPULATED.
 4
      DATED this 2nd day of October, 2020.              DATED this 2nd day of October, 2020.
 5
      WRIGHT, FINLAY & ZAK, LLP                         KIM GILBERT EBRON
 6
 7    /s/ Aaron D. Lancaster                            /s/_Diana S. Ebron_____________________
      Aaron D Lancaster, Esq.                           Diana S. Ebron, Esq.
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10    Attorneys for Plaintiff, U.S. Bank Trust, N.A.,   Attorneys for Defendant, SFR Investments Pool
      as Trustee for LSF8 Master Participation          1, LLC
11    Trust
12    DATED this 2nd day of October, 2020.
13
      HALL, JAFFE & CLAYTON, LLP
14
      /s/_Ashlie L. Surur______________________
15
      Ashlie L. Surur, Esq.
16    Nevada Bar No. 11290
      7425 Peak Drive
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      Attorneys     for   Defendant,  Gleneagles
18
      Homeowners Association
19
20   IT IS SO ORDERED.
21
22           October 2
     DATED ______________________, 2020
                                                          ___________________________________
23                                                        UNITED STATES DISTRICT JUDGE
24
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